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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                      *
vs.                                                *   Case No.: 21-CR-28-APM
THOMAS E. CALDWELL                                 *
       *       *       *      *       *       *        *     *         *    *       *

                                             ORDER
       U                                          Unopposed Request to Modify Conditions of
Release, it is hereby ordered by the United States District Court for the District of Columbia that
the Motion be granted and that the Defendant s 24/7 home incarceration be modified as follows:
 the Defendant is restricted to his farm where he currently resides.



                                                                       2021.04.26
                                                                       13:49:40 -04'00'
       __________________                     ____________________________________
       Date                                   Honorable Amit P. Mehta
                                              United States District Court
